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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,                )
SMARTMATIC HOLDING B.V., AND         )
SGO CORPORATION LIMITED,             )
                                     )
             Plaintiffs,             )
                                          Civil Action No. 1:21-cv-02900-CJN
     v.                              )
                                     )
HERRING NETWORKS, INC., D/B/A        )
ONE AMERICA NEWS NETWORK,            )
                                     )
             Defendant.              )

     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
   OAN’S MOTION TO COMPEL THIRD PARTY OPEN SOCIETY INSTITUTE
               TO COMPLY WITH RULE 45 SUBPOENA
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       Defendant Herring Networks, Inc. d/b/a One America News Network (“OAN”) files this

Motion to Compel Third Party Open Society Institute to Comply with Rule 45 Subpoena. OAN

served on Open Society Institute, also known as Open Society Foundations (“Open Society”) a

Rule 45 document subpoena issued by this Court. The subpoena was issued on July 31, 2023. Open

Society served its objections on August 31, 2023, conceding that certain requests were relevant

and agreeing to produce documents responsive to OAN’s requests. To date, however, Open

Society has failed to produce any documents, and OAN’s attempts to come to an agreement have

been stonewalled. The requested documents are material and necessary to OAN’s defenses against

defamation claims brought by Smartmatic USA Corp., Smartmatic International Holding B.V.,

and SGO Corporation Limited (collectively, “Smartmatic”). OAN is thus forced to move this Court

for an order compelling Open Society to produce documents pursuant to the Rule 45 document

subpoena.

                                   I.     INTRODUCTION

       Open Society refuses to search for or produce any documents in its possession related to

its affiliation with Smartmatic. Despite having this subpoena since July 31, Open Society has

failed to produce documents in response to OAN’s subpoena, even on issues it concedes are

relevant. OAN provided Open Society with a set of merely 4 search strings after meeting and

conferring with Open Society’s counsel. Nevertheless, Open Society refuses to timely comply with

the document subpoena or even begin producing documents responsive to these four narrow search

queries. Nor has Open Society provided any evidence of its burden other than its bare assertions

that these 4 search strings are burdensome.

       OAN therefore requests that this Court order Open Society to produce, within one week of

the Court’s order, documents that are responsive to OAN’s document subpoena and proposed

search terms.


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                                     II.    BACKGROUND

       Smartmatic sued OAN for over a billion dollars in damages, based in part on statements it

alleges to be defamatory regarding connections between Smartmatic and George Soros (“Soros”)1

and other Soros entities, including Open Society. See, e.g., Complaint, ECF No. 1, ¶¶ 41, 93, 95–

97, 99, 102, 104–105, 111, 113, 129, 131, 171, 184, 194, 196, 218, 227. Although OAN maintains

that Smartmatic’s well-documented connections to Soros and his entities are not defamatory,

Smartmatic has put this connection at issue and these statements are therefore material to the

claims and defenses in this action. OAN is thus necessarily entitled to explore the veracity of these

statements that Smartmatic claims are somehow defamatory.

       Open Society is a dark-money fundraising network founded by billionaire George Soros

which has “given away billions of dollars to left wing organizations around the world,” according

to OAN’s statements referenced in Smartmatic’s complaint.2 See Complaint, ECF No. 1, ¶ 131.

Many of the complained-of statements alleged by Smartmatic to be defamatory concern

Smartmatic’s, and in particular its former Chairman Lord Mark Malloch-Brown’s, links to political

actors on the left, including Open Society and its founder, Soros.

       Malloch-Brown was Chairman of Smartmatic’s parent company from 2014 to December

2020 and previously held positions in Soros’s Quantum Fund and Soros Fund Management, LLC.

Malloch-Brown had a decades-long personal and business relationship with George Soros going

back at least to 2005. And throughout Malloch-Brown’s entire tenure as Chairman of Smartmatic,

Malloch-Brown simultaneously served as a member of the Global Board of Directors of George


1
  On July 10, 2023, OAN served a document subpoena, issued on July 6, 2023, on Soros, who is
represented by the same counsel as Open Society. (Ex. B, Document Subpoena to Soros.)

2
 See also Joe Schoffstall, Soros Bankrolls Dark Money Hub for Activists Pushing to Dismantle
Police, Grants Show, FOX NEWS (Dec. 9, 2021), https://www.foxnews.com/politics/soros-
bankrolls-dark-money-hub-activists-dismantle-police [https://perma.cc/97MM-98L4].


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Soros’s Open Society and was a close personal friend of George and his son, Alex Soros. Their

relationship was so close that within weeks of the 2020 presidential election, and amidst the

coverage of Smartmatic that is at issue in this case, Malloch-Brown resigned the chairmanship of

Smartmatic to become President of Soros’s Open Society, where he continues to serve as President

to this day.

        Despite these connections stretching back nearly a decade, Smartmatic alleges to be

defamatory a segment broadcast by OAN during which the following exchange transpired:

        Ms. McKinney: Foreign governments seem to be tied in with these [Smartmatic
        voting] systems, whether it be Canada, Venezuela, Spain, or even Germany. What
        can you tell us about that?
        Mr. Johns: [T]here’s been some reporting in some of these systems in Germany
        were actually seized. [] Smartmatic has had incredible ties with some of the greater
        far left concerns that we have, including this Lord Mark Malloch-Brown, who’s
        very tight with Soros, is on the Open Society’s Global Board and a bunch of other
        Soros boards, meaning this is not some casual associate of George Soros. This is
        kind of an individual is part of that inner circle. And we have case after case[.]
        Philippines is another great example where these systems have been utilized and
        there’s been nothing but broad concerns. Now, since we last talked, which was not
        broadly known and still not broadly known, just so happens that one of the two
        campaigns has a very strong relationship with Smartmatic and I probably don’t
        have to ask you to guess which one.

Complaint ¶ 93, ECF No. 1 (first alteration and unbolded italics added).

        And this is just one example of a statement Smartmatic alleges to be defamatory regarding

the relationship between Open Society, Soros, and Smartmatic. Indeed, Smartmatic’s 193-page

complaint is replete with references to Open Society and Soros. For instance, another complained-

of broadcast alleged in Smartmatic’s complaint contained the following excerpt, connecting Soros

to Smartmatic, Venezuela, and Hugo Chavez:

        Mr. Dinow: Report suggests voting machines systems funded by George Soros
        were used to install a socialist regime in Venezuela back in the early 2000s.
        According to WikiLeaks, UK based companies Smartmatic had a campaign staffer
        for Hugo Chávez on its board back in 2000. Now the company reportedly meddled
        with a 2004 Venezuela election to secure a win for the Chávez regime. The


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       Gateway Pundit reports, Smartmatic sold its technology to Dominion Voting, that
       ran elections in Arizona, Michigan, Nevada, and Pennsylvania this year.

Id. ¶ 95 (emphasis in original). Another provides:

       Ms. Kokalari-Angelakis: [T]hey have been around since 2004, at least in Serbia.
       Dominion and the Clinton Foundation, they have a project together called the
       Delian Project, which apparently raises money to help voter fairness in countries
       like, I don’t know, maybe Albania or countries that are not–don’t have a strong
       economy or they’re not too strong. Meanwhile, they are doing the opposite, so, you
       know, when you see weak states like those, this is the perfect playground for
       George Soros because, believe it or not, George Soros’ son is constantly in Albania.
       Albanians are friends of Hillary Clinton and the Clinton Foundation, but, remember
       this: in 2016, right before the election in 2016, Hillary Clinton was so sure she was
       going to win. The only reason she was sure she was gonna win, is because they
       knew Dominion and the software, Smartech–Smartmatic was in existence, and
       that’s how they were going to get the election. They just didn’t expect–they didn’t
       realize how many Americans were going to vote for Donald Trump, and that’s how
       they probably lost that election.

Id. ¶ 104 (emphasis omitted). And yet another of Smartmatic’s allegations of defamation concerns

the following statement regarding Malloch-Brown’s relationship with Soros and his organizations:

       OANN Reporter: Chairman Mark Malloch Brown sits on the board of George
       Soros’ Open Society Foundation, which has a revenue of more than $300 million
       and has reportedly given away billions of dollars to left wing organizations around
       the world. Malloch-Brown has also served as Vice Chairman of Soros’ investment
       funds. Meantime, Smartmatic has faced controversy in the past with allegations of
       rigging the 2013 election in Venezuela, on behalf of embattled socialist President
       Nicolás Maduro.

Id. ¶ 131.

       Similar references to Open Society and Soros abound throughout the complaint. See, e.g.,

id. ¶¶ 41, 93, 95–97, 99, 102, 104–105, 111, 113, 129, 131, 171, 184, 194, 196, 218, 227. Taken

as a whole, the complained-of statements alleged in the complaint broadly connect Open Society

and Soros to Smartmatic and claims of voter fraud.

       OAN’s subpoena to Open Society, issued on July 31, 2023, seeks documents responsive to

32 requests for production. (Ex. C, Document Subpoena to Open Society.) Open Society’s counsel




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accepted service on August 8, 2023. (Ex. F, Email Exchange dated July 10, 2023 re Service &

Extensions); see (Ex. A, Shah Decl. ¶¶ 3–4). OAN extended Open Society’s deadline to object to

the subpoena to August 31, 2023, (Ex. A, Shah Decl. ¶ 4), and Open Society served its Responses

and Objections on August 31. (Ex. E, Open Society’s Objections and Responses).

       In its Reponses and Objections, Open Society objected to every request, and further stated

its intention not to search for any documents responsive to 27 of the 32 requests but only to search

for and produce documents responsive to the remaining 5 requests insofar as they related to what

Open Society deemed the “Relevant Issues” in this action. (Id. at 17–18, 27–28, 34–35.) The

“Relevant Issues,” according to Open Society, consist of: (i) “Lord Mark Malloch Brown’s current

employment” at Open Society or his “previous[] serv[ice] as a Board Member of the Open Society

Foundations Global Board,” provided OAN can “demonstrate” to Open Society that Malloch-

Brown’s employment status at Open Society is disputed by Smartmatic;3 and (ii) “funding” that

Open Society “has provided to Smartmatic” and documents related to “ownership of Smartmatic”

by Open Society. (Id. at 2.) Open Society also lodged a number of boilerplate objections.

       By September 19, 2023, Open Society had not produced any documents, despite promising

to search for and produce those it deemed related to the “Relevant Issues.” See (id. at 2); (Ex. A,

Shah Decl. ¶¶ 5–6). With a fact-discovery deadline approaching, counsel for OAN sought a meet

and confer. (Ex. A, Shah Decl. ¶ 6.) OAN and counsel for Open Society conferred by telephone

on September 27. See (id. ¶ 7); (Ex. G, Email Exchange dated Sept. 19, 2023 re Meet & Confer.)

During the conference, counsel agreed that OAN would send search terms so as to help avoid

undue burden for Open Society in complying with the requests. See (Ex. A, Shah Decl. ¶ 7.)



3
  In other words, Open Society insists it should not have to produce any other documents to OAN
related to Smartmatic because Open Society’s connection to Smartmatic through Malloch-Brown
is publicly known.


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Moreover, OAN informed Open Society that it was aware of documents related to Soros’s

advancement and support of Smartmatic’s business opportunities. (Id.)

       On October 16, 2023, following up on the agreement reached in the telephone conference,

OAN sent a list of four, narrow search queries to assist Open Society’s identification and

production of responsive documents. (Ex. G, Email Exchange dated Sept. 19, 2023 re Meet &

Confer.); see (Ex. H, OAN’s Proposed Search Terms). OAN asked that, in the event Open Society

found the search queries too broad, it demonstrate the burden “by identifying how many responsive

documents these [proposed] terms hit on.” (Ex. G, Email Exchange dated Sept. 19, 2023 re Meet

& Confer.) Having received no response, OAN a week later requested a second meet-and-confer

telephone conference. (Id.) Counsel for Open Society finally responded via email on October 24,

asking for an explanation of the nature of 14 of the terms and their relevance. (Id.) OAN explained

in detail each of the 14 terms and their relevance, supporting this with citations of the complained-

of statements in the Smartmatic complaint, and further re-iterated OAN’s request for a second

telephonic conference. (Id.)

       Another week passed. (Id.) On November 8, Open Society’s counsel responded, declining

to run OAN’s proposed search terms, stating that the four search queries “contain more than 2,500

search terms.” (Id.) OAN in turn explained it was “happy to work with you to narrow our search

term proposal” but found it difficult to understand “how our proposal of 4 search strings can result

in 2,500 terms.” (Id.) OAN requested more information, specifically in the form of a hit report, so

that OAN could “work to narrow” the terms and identify the cause of the numbers. (Id.) OAN also

pointed out that Open Society had already conceded the relevance of certain inquiries. (Id.)

       On November 17, Open Society’s counsel responded, retreating from Open Society’s

statement in the Responses and Objections that it would search for and produce “materials related




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to the Relevant Issues” (Ex. E, Open Society’s Responses and Objections at 17–18, 27–28, 34–

35), and taking the new position that the none of the discovery sought is relevant. (Ex. G, Email

Exchange dated Sept. 19, 2023 re Meet & Confer.) Additionally, Open Society’s counsel asserted

that OAN’s four search queries actually amounted to “more than 2,500 individual searches” when

the Boolean connector “and” is taken into account. (Id.) Open Society’s counsel did not provide

any evidence of this other than this bare assertion, nor did counsel provide any hit reports as

requested by OAN and instead insisted that no “further discussion about search terms is

appropriate or productive at this stage.” (Id.)

       To date, Open Society has not produced any documents, including those it initially

conceded as relevant. (Ex. A, Shah Decl. ¶¶ 5, 13.) OAN therefore has no other choice but to bring

this Motion and seek this Court’s relief.

                                   III.     LEGAL STANDARD

       Rule 45 allows the party serving a subpoena to move “for an order compelling production”

of requested documents if the commanded person has failed to comply. Fed. R. Civ. P.

45(d)(2)(B)(i). A trial court is within its discretion to compel compliance with a Rule 45 subpoena

when the discovery sought is relevant. See In re Denture Cream Prods. Liab. Litig., 292 F.R.D.

120, 123–24 (D.D.C. 2013). A discovery request is relevant if there is “any possibility that the

information sought may be relevant to the claim or defense of any party.” Id. at 124 (emphasis

added); see also Watts v. SEC, 482 F.3d 501, 507 (D.C. Cir. 2007). A subpoena respondent

“resisting discovery” bears the burden of objecting to a subpoena and proving that the “documents

requested are either unduly burdensome or privileged.” In re Denture Cream, 292 F.R.D. at 123–

24 (internal quotation marks and citations omitted); Fed. R. Civ. P. 45(e)(1)(D); see Stati v.

Republic of Kazakhstan, No. 14-cv-1638, 2020 WL 3259244, at *4 (D.D.C. June 5, 2020) (“The

undue burden standard for Rule 45 . . . mirrors the standard included within Rule 26.”).


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        In ruling on a motion to compel, a court first determines whether the subpoena seeks

relevant information and then assesses any objections, including those which involve claims of

undue burden. Stati, 2020 WL 3259244, at *4 (granting motion to compel compliance with Rule

45 subpoena). “The person objecting to production has a heavy burden to show that the subpoena

should not be enforced.” Millennium TGA, Inc. v. Comcast Cable Commc’ns LLC, 286 F.R.D. 8,

11 (D.D.C. 2012) (emphasis added). In determining whether an undue burden exists, courts

consider a number of factors including “whether the discovery is unreasonably cumulative or

duplicative; whether the discovery sought is obtainable from some other source that is more

convenient, less burdensome, or less expensive; and whether the burden or expense of the proposed

discovery outweighs its likely benefit, taking into account the needs of the case, the amount in

controversy, the parties’ resources, the importance of the issues at stake in the litigation, and the

importance of the proposed discovery in resolving the issues.” In re Denture Cream, 292 F.R.D.

at 123 (quoting Watts, 482 F.3d at 509); see also Fed. R. Civ. P. 26(b)(2)(C)(i).

                                      IV.     ARGUMENT

        A.      Open Society is required to produce documents that are relevant and
                necessary to OAN’s defense of Smartmatic’s lawsuit.

        In its responses and objections to the subpoena, Open Society agreed to search for and

produce certain documents. Yet Open Society has produced zero documents—not even documents

responsive to the very requests it conceded are relevant (Request Nos. 2–3, 12–13, and 20). There

is no reason why Open Society cannot immediately produce such documents now and produce the

methodology it used for locating these documents it concedes are responsive. Additionally, the

Court should overrule Open Society’s objections and order production of documents responsive

to all of the requests.




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       OAN’s requests are relevant because they concern documents that bear on the substantial

truth of the statements complained of in Smartmatic’s complaint, Smartmatic’s damages claims,

and OAN’s defenses. The document subpoena seeks 32 relevant categories of information, all of

which relate to the claims at issue in Smartmatic’s lawsuit against OAN. (Ex. C, Document

Subpoena to Open Society, at 6–10.).

       The complaint broadly discusses, among other things, Open Society’s and Soros’s ties with

Smartmatic and their connections with Venezuela, Albania, Chavez, Maduro, Castro, socialist

regimes, and Dominion, see Complaint ¶¶ 41, 93, 95–97, 99, 102, 104–105, 111, 113, 129, 131,

171, 184, 194, 196, 218, 227, ECF No. 1; the sale of Smartmatic election technology to Dominion,

see id. ¶¶ 131, 196; Soros or Open Society’s advancement and support of Smartmatic’s business,

see id. ¶¶ 95–96, 105, 184, 196, 218, 227; the ownership of Smartmatic and Soros’s involvement,

see id. ¶¶ 97, 99, 218; the development of Smartmatic’s software and Soros, see id. ¶¶ 95, 99, 113,

184, 196, 218, 227; Open Society’s and Soros’s relationships with Malloch-Brown and

Smartmatic, see id. ¶¶ 41, 93, 111, 131, 171; Malloch-Brown’s relationship to Soros’s investment

funds, see id. ¶¶ 131; voter or other election-related fraud due to Open Society’s and Soros’s

influence on Smartmatic, see id. ¶¶ 93, 95–96, 99, 102, 104, 111, 113, 171, 184, 194, 218, 227;

and Open Society’s and Soros’s relationships with left-wing organizations, causes, and politicians

and their influence on elections, see id. ¶¶ 93, 95–96, 97, 99, 104–105, 111, 113, 129, 131, 184,

194, 196, 218, 227. Overall, Smartmatic’s complaint mentions “Open Society” or “Soros” nearly

60 times. See (Ex. A, Shah Decl. ¶ 2).

        OAN must be permitted to test and defend against Smartmatic’s defamation claims, and

in order to do so, is entitled to all the evidence that is relevant to Smartmatic’s claims and OAN’s

defenses. Open Society cannot show that there is no “possibility” that the information OAN seeks




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is relevant, as information relating to the above topics is plainly discoverable. See In re Denture

Cream, 292 F.R.D. at 124 (“[A] request for discovery should be considered relevant if there is any

possibility that the information sought may be relevant to the claim or defense of any party.”

(emphasis added) (quotation omitted)); see Watts, 482 F.3d at 507 (D.C. Cir. 2007). Nor can Open

Society show that this evidence would have “no possible bearing” on Smartmatic’s claims or

OAN’s defenses. Cherokee Nation v. U.S. Dept. of the Int., 531 F. Supp. 3d 87, 98 (D.D.C. 2021)

(“[D]iscovery generally should be allowed ‘unless it is clear that the information sought can have

no possible bearing on the claim or defense of a party.’” (quotation omitted)).

       Open Society cannot re-define the “relevant issues” in this action as a third party. Open

Society’s narrow definition of the relevant issues in this matter is contradicted by Smartmatic’s

very complaint, which alleges that 18 statements by OAN concerning Soros, Open Society, and

Smartmatic are defamatory. (Ex. A, Shah Decl. ¶ 2.) Nor can Open Society refuse to produce

documents bearing on Open Society’s connection to Smartmatic through Malloch-Brown simply

because aspects of that relationship were publicly known. To the contrary, OAN is entitled to all

evidence that is relevant to Smartmatic’s claims and OAN’s defenses, including evidence bearing

on the full extent of Smartmatic’s entanglement with Open Society and Soros, and Malloch-

Brown’s use of that relationship for Smartmatic’s benefit. See In re Denture Cream, 292 F.R.D. at

124.

       Despite the relevance of OAN’s requests, Open Society attempts to rest on its laurels based

on a ruling in a completely different case, against different parties, concerning different challenged

statements, and in a different forum. During OAN’s conferral efforts, Open Society’s counsel

indicated that Open Society’s successful defense to a motion to compel a subpoena in a New York

state court lawsuit against defendants Fox Corporation and Fox News Network LLC means that




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Open Society is not obligated to comply with the subpoena in this case. See (Ex. G, Email

Exchange dated Sept. 19, 2023 re Meet & Confer); Smartmatic USA Corp. v. Fox Corp., Index

No. 151136/2021 (N.Y. Sup. Ct. N.Y. Cty. filed Feb. 4, 2021). The difference in this action,

however, is that challenged statements connecting Smartmatic and Open Society and Soros

permeate Smartmatic’s complaint, whereas the complaint in Fox Corporation references only six

unique statements made by the defendants concerning Open Society or Soros. Compare Complaint

¶¶ 126, 157(b), 166(o), 166(v), 234(d), 244, Fox Corp., Index No. 151136/2021 (N.Y. Sup. Ct.

N.Y. Cty. filed Feb. 4, 2021) with Complaint, ECF No. 1, Smartmatic USA Corp. v. Herring

Networks, Inc., No. 1:21-cv-02900-CJN (D.D.C. filed Nov. 3, 2021) (59 hits for “Soros” or “Open

Society”). In Smartmatic’s complaint against OAN, “Soros” appears in 13 unique statements

alleged to be defamatory, see Complaint ¶¶ 93, 95–97, 99, 102, 104, 105–06, 113, 129, 131,

171(cc); and “Open Society” appears in 5 unique statements, see id. ¶¶ 93, 99, 111, 131, 171(cc).

(Ex. A, Shah Decl. ¶ 2). The number of unique statements concerning Open Society or Soros in

this lawsuit is triple that of Fox’s lawsuit.

        Not only are the challenged statements in this action quantitatively more numerous than

the statements in Fox Corporation, but also they are substantively different. They include different

statements from different hosts, different guests, and different broadcasts. And of course, OAN’s

subpoena is different than Fox’s subpoena to Open Society. Moreover, the case in Fox Corporation

is not governed by federal law and the federal rules of evidence on relevance and burden. This

case necessarily stands on its own, and Open Society’s reliance on a state court ruling in different

matter is inapposite. Open Society must comply with OAN’s subpoena.




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       B.      Open Society’s unsupported burden objections do not outweigh OAN’s need
               for this information.

       Open Society identifies no evidence of the purported burden it asserts, despite OAN

requesting evidence of this purported burden—specifically hit reports—during the meet-and-

confer process and in correspondence with Open Society’s counsel. See (Ex. G, Email Exchange

dated Sept. 19, 2023 re Meet & Confer.) Open Society’s perfunctory objections cannot surmount

the “heavy burden” a subpoena respondent faces in order to successfully resist a subpoena, see

Millennium TGA, 286 F.R.D. at 11, and the Court should disregard Open Society’s unsupported

assertions of burden. See Pleasants v. Allbaugh, 208 F.R.D. 7, 12 (D.D.C. 2002) (“[T]he party

opposing discovery must make a specific showing, supported by declaration, as to why the

production sought would be unreasonably burdensome.” (citing Pro–Football, Inc. v. Harjo, 191

F. Supp. 2d 77, 80 (D.D.C. 2002))).

       OAN’s proposed search queries are narrowly tailored to capture documents responsive to

the requests and only concern Smartmatic or its agents. OAN’s proposal consists of four search

queries that all fit on one page. (Ex. H, OAN’s Proposed Search Terms). The suggestion of Open

Society’s counsel that “break[ing] . . . out” the search queries “amounts to more than 2,500

individual searches [OAN] ha[s] asked us to run” due to the operations of the “‘and’ connector”

misapprehends the nature of a Boolean search and, more importantly, vastly inflates the burden

imposed on Open Society. (See Ex. G, Email Exchange dated Sept. 19, 2023 re Meet & Confer.)

The Boolean search operator “and” permits a subpoena respondent to narrowly tailor a search for

responsive documents by eliciting hits only where the document meets multiple criteria and hits

on multiple terms, thus decreasing the number of hits, and increasing the likelihood that the search

yields relevant and narrowly tailored documents. Open Society’s counsel has furthermore not even

identified the particular terms it considers problematic or contributing to the alleged 2,500 search



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terms “when broken out” but has rejected all of OAN’s search terms outright without even a

counterproposal. Nor has Open Society’s counsel provided evidence to OAN of these purported

2,500 terms, despite OAN’s request for this evidence. Contrary to the representation of Open

Society’s counsel, OAN’s proposed search terms require just four simple queries to be run—not

2,500 individual searches.

       Absent evidence of the burden of running four individual searches—such as hit reports—

Open Society’s claims of undue burden are meritless. Despite OAN’s efforts, Open Society to this

date has refused to provide any evidence of the purported burden on which it is relying in part to

not produce documents. (Ex. A, Shah Decl. ¶¶ 11–12); see Alexander v. FBI, 194 F.R.D. 305,

313–15 (D.D.C. 2000) (noting that party alleging undue burden “must make a specific, detailed

showing of the burden [the disputed] search would require” and identifying “estimated required

staff hours, estimated cost, or some other specific showing” as types of evidence that might support

an undue burden argument); Association of Am. Physicians & Surgeons v. Clinton, 837 F.Supp.

454, 458 n.2 (D.D.C. 1993) (noting that assertions of a burden without “specific estimates of staff

hours needed to comply” will be “categorically rejected”).

       In determining whether an undue burden exists, courts can consider whether “the burden

or expense of the proposed discovery outweighs its likely benefit, taking into account the needs of

the case, the amount in controversy, the parties’ resources, the importance of the issues at stake in

the litigation, and the importance of the proposed discovery in resolving the issues.” In re Denture

Cream, 292 F.R.D. at 123 (quoting Watts, 482 F.3d at 509). These considerations weigh against

sustaining Open Society’s objection to the document subpoena.

       Smartmatic seeks billions of dollars in this case, a factor that alone justifies OAN’s

relevant, targeted subpoena to a third party that is mentioned all over the Complaint. See BuzzFeed,




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Inc. v. U.S. Dep’t of Just., 318 F. Supp. 3d 347, 361 (D.D.C. 2018) (finding no undue burden for

non-party to comply with defamation defendant’s subpoena given the amount in controversy);

Westinghouse Elec. Corp. v. City of Burlington, 351 F.2d 762, 767 (D.C. Cir. 1965) (“The fact that

these are very important cases with large sums of money at stake is relevant in determining the

reasonableness of the [third-party] subpoena.”).

       Moreover, the complaint’s numerous (nearly 60) references to Open Society and Soros’s

connections with Smartmatic and claims of election-related fraud demonstrate the importance of

the discovery in resolving Smartmatic’s claims and OAN’s defenses. See (Ex. A, Shah Decl. ¶ 2).

So does the number of unique complained-of statements involving Open Society and Soros—18

in total. See (id.); Complaint ¶¶ 93, 95–97, 99, 102, 104, 105–06, 111, 113, 129, 131, 171(cc).

       Finally, Open Society’s resources vastly outstrip those of OAN. See Fact Sheet: The Open

Society Foundations and George Soros, OPEN SOC’Y FOUNDS. (Oct. 12, 2023) (“The Open Society

Foundations have more than $22 billion in assets, and is one of the world’s largest private

philanthropic     funds.”),     https://www.opensocietyfoundations.org/newsroom/open-society-

foundations-and-george-soros [https://perma.cc/JUC7-2RQW]. The so-called “burden” of this

multi-billion-dollar entity in complying with a one page search term proposal is negligible.

       The remainder of Open Society’s boilerplate objections should likewise be disregarded.

See Novelty, Inc. v. Mt. View Mktg., 265 F.R.D. 370, 375 (S.D. Ind. 2009) (“‘[G]eneral objections’

made without elaboration, whether placed in a separate section or repeated by rote in response to

each requested category, are not ‘objections’ at all—and will not be considered.” (citing DL v.

District of Columbia, 251 F.R.D. 38, 43 (D.D.C. 2008))); Athridge v. Aetna Cas. & Sur. Co., 184

F.R.D. 181, 190 (D.D.C. 1998) (“[G]eneral objections do not comply with Fed. R. Civ. P. 34(b)

and courts disfavors them.”).




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        C.     The Court should award OAN its attorneys’ fees incurred in connection with
               enforcement of the subpoena.

        This Court has the inherent authority to sanction non-parties for bad-faith litigation conduct

and to award attorneys’ fees “upon a showing of bad faith.” See In re Exxon Valdez, 142 F.R.D.

380, 385 (D.D.C. 1992). Open Society’s noncompliance with the subpoena warrants an award of

attorneys’ fees in OAN’s favor. Open Society is a multi-billion dollar organization that has forced

OAN, a small family-run media outlet, to incur expenses engaging in a fruitless meet-and-confer

process that Open Society has used to simply delay and refuse compliance. Open Society

misrepresented that it would search for and produce certain documents. See (Ex. A, Shah Decl.

¶ 5). It never did so. (Id. ¶ 13.) OAN has now been forced to engage in motion practice in this

Court to secure Open Society’s compliance and obtain relevant, responsive documents. The fact

that Open Society rejected all of OAN’s search terms outright without even a counterproposal, or

a demonstration of the purported burden, is probative of Open Society’s bad faith. See (id. ¶¶ 11–

12.) Open Society should thus be required to pay OAN’s attorneys’ fees incurred in bringing this

motion.

                                          *       *       *

        The stonewalling must end. Open Society’s failure to comply with OAN’s subpoena has

forced OAN to seek judicial relief. OAN is entitled to information pertaining to the veracity of

statements Smartmatic alleges are defamatory involving Open Society. This information bears on

the substantial truth of the statements complained of in Smartmatic’s complaint, are necessary to

OAN’s defense, and are material to challenging Smartmatic’s and damages claims. OAN therefore

asks the Court to enter an order compelling Open Society to produce documents responsive to the

document subpoena no later than 7 days after the granting of this Motion and to award attorneys’

fees.



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                                   V.     CONCLUSION

       The Court should render an order compelling Open Society to produce documents

responsive to the document subpoena no later than 7 days after the granting of this Motion and

award OAN reasonable attorney’s fees.


                                           By:     /s/ R. Trent McCotter

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of December, 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties. I will also serve counsel for Open Society Foundation by emailing

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